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 6

 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            CASE NO. 2:18-CR-00010-TLN
11                                Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                         v.                             FINDINGS AND ORDER
13   JOSHUA SIMS et al.,                                  DATE: December 13, 2018
                                                          COURT: Hon. Troy L. Nunley
14                               Defendants.
15

16                                             STIPULATION

17         1.      This stipulation concerns one of thirteen indicted related cases, which all arise out of a

18 common investigation.

19         2.      By previous order, this matter was set for status on December 13, 2018.

20         3.      By this stipulation, the Government and counsel for the defendants in the above-

21 captioned case now move to continue the status conference to February 21, 2019.

22         4.      The parties also seek to exclude time between December 13, 2018, and February 21,

23 2019 under Local Codes T2 and T4.

24         5.      The parties agree and stipulate, and request that the Court find the following:

25                 a)      As of this stipulation, the Government has produced more than 400 pages of

26         written discovery to the defendants as a group, as well as 45 DVDs containing audio and visual

27         surveillance recordings. (Each defendant has also received a copy of his or her criminal history,

28         if one exists, and a small amount of additional written discovery has been produced to a subset of


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 1        defendants.) Going forward, the Government anticipates producing hundreds of additional pages

 2        of discovery, which will include wiretap-related documents pursuant to the Court’s April 12,

 3        2018 protective order, and additional DVDs containing wiretap data and additional surveillance

 4        evidence.

 5               b)      At this time, the Government understands that the previously appointed

 6        discovery-coordination attorney (the “DCA”) is processing the discovery that the Government

 7        has produced (as noted in the foregoing paragraph) and making it available to defense counsel.

 8               c)      At this time, Counsel for the above-captioned defendants desire additional time to

 9        review the discovery now being distributed by the DCA. This review will enable counsel to

10        begin reviewing the charges against their respective clients, conduct ancillary research, and

11        consult with their respective clients on how to proceed in their cases. (In addition, attorney

12        Daniel Olsen, counsel for defendant James Masterson, recently substituted into the case on

13        November 13, 2018, and needs additional time to conduct his initial review of the discovery

14        produced to-date.)

15               d)      Counsel for the defendants believe that failure to grant the above-requested

16        continuances would deny them the reasonable time necessary for effective preparation, taking

17        into account the exercise of due diligence.

18               e)      The government does not object to the continuances.

19               f)      Based on the above-stated findings, the ends of justice served by continuing the

20        case as requested outweigh the interest of the public and the defendant in a trial within the

21        original date prescribed by the Speedy Trial Act.

22               g)      Further, given that the discovery in this case arises from a single investigation and

23        is being produced to twenty-seven defendants in thirteen cases, the Court has previously

24        designated the matter as “complex” for the purpose of providing an exclusion of time under

25        Local Code T2. The parties submit that the foregoing stipulation provides a continued basis for

26        such an exclusion.

27               h)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

28        et seq., within which trials must commence, the time periods of December 13, 2018 to February

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 1          21, 2019, inclusive, are deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

 2          Code T4] because they result from continuances granted by the Court at the defendants’ requests

 3          on the basis of the Court’s finding that the ends of justice served by taking such action outweigh

 4          the best interest of the public and the defendants in speedy trials.

 5                  i)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trials must commence, the time periods of December 13, 2018 to February

 7          21, 2019, inclusive, are deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (ii) because

 8          they result from continuances granted by the Court at defendants’ requests on the basis of the

 9          Court’s finding that the matters are sufficiently complex that it would be unreasonable to expect

10          adequate preparation absent the exclusions of time.

11          6.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

12 Speedy Trial Act dictate that additional time periods are excludable from the periods within which trials

13 must commence.

14          IT IS SO STIPULATED.

15    Dated: December 7, 2018                                 MCGREGOR W. SCOTT
                                                              United States Attorney
16
                                                              /s/ JUSTIN LEE
17                                                            JUSTIN LEE
                                                              Assistant United States Attorney
18

19
      Dated: December 7, 2018
20                                                            /s/ TODD D. LERAS
                                                              TODD D. LERAS
21                                                            Counsel for Defendant Edgar Jimenez
22

23    Dated: December 7, 2018                                 /s/ DANIEL L. OLSEN
                                                              DANIEL L. OLSEN
24                                                            Counsel for Defendant James Masterson
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 1   Dated: December 7, 2018
                                                  /s/ CANDICE L. FIELDS
 2                                                CANDICE L. FIELDS
                                                  Counsel for Defendant Reggie Pajimola
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 4
     Dated: December 7, 2018                      /s/ KYLE R. KNAPP
 5                                                KYLE R. KNAPP
                                                  Counsel for Defendant Joshua Sims
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13
                                [PROPOSED] FINDINGS AND ORDER
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          IT IS SO FOUND AND ORDERED this 7th day of December 2018.
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                                                   Troy L. Nunley
19                                                 United States District Judge
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